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     Timothy E. Warriner (SB#166128)
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     (916) 443-7141
 3
     Attorney for defendant,
 4   Francisco Arrellanez
 5
                          UNITED STATES DISTRICT COURT
 6
                   FOR THE EASTERN DISTSRICT OF CALIFORNIA
 7

 8                              ) Case No. 13-CRS-227 GEB
     UNITED STATES OF AMERICA,  )
 9                              ) STIPULATION AND PROPOSED
              Plaintiff,        ) ORDER CONTINUING DATE FOR
10                              ) JUDGMENT AND SENTENCING
         vs.                    )
11                              )
     FRANCISCO PARA ARRELLANEZ, )
12                              )
              Defendant.        )
13                              )
                                )
14                              )
                                )
15

16         Plaintiff, United States of America, by and through its counsel of record, and
17
     Defendant Francisco Para Arrellanez hereby stipulate that the date presently set for
18
     judgment and sentencing be continued to March 17, 2017 at 9:00 a.m.
19

20         The parties adopt the following schedule concerning the PSR:
21
     Judgment and Sentencing Date                 March 17, 2017 at 9:00 a.m.
22
     Draft PSR filed with court and               February 10, 2017
23
     disclosed to counsel
24   Counsel’s Written Objections to the          February 17, 2017
     Presentence Report Shall be Delivered
25
     to the Probation Officer and Opposing
26   Counsel no Later than:
                                              1
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 1
     The Pre-Sentence Report Shall be Filed February 24, 2017
     with the Court and Disclosed to
 2   Counsel no Later Than:
 3
     Motion for Correction of the           March 3, 2017
     Presentence Report Shall be Filed with
 4   the Court and Served on the Probation
     Officer and Opposing Counsel no Later
 5
     Than:
 6   Reply, or Statement of Non-Opposition March 10, 2017
 7

 8
        IT IS SO STIPULATED
 9

10   DATED: January 25, 2017                      /s/ Timothy E. Warriner, Attorney for
                                                  Defendant, Francisco Arrellanez
11

12   DATED: January 25, 2017                      /s/ Todd Pickles, Assistant
                                                  U.S.Attorney
13

14
                                        ORDER
15

16         PURSUANT TO THE ABOVE STIPUALATION the court orders that the
17
     judgment and sentencing date be continued from February 10, 2017, to March 17,
18
     2017 at 9:00 a.m. The court adopts the above stipulation of the parties concerning
19

20   the presentence investigation report.
21

22   Dated: January 25, 2017
23

24

25

26

                                              2
